     Case 5:21-cr-00021-TKW-MJF    Document 163     Filed 08/04/22   Page 1 of 2



                                                                          Page 1 of 2

               UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                Case No. 5:21cr21-TKW/MJF-1

MUHUMMAND WASHINGTON
                                       /

                    REPORT AND RECOMMENDATION
                     CONCERNING PLEA OF GUILTY

       The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.

R. Crim. P., and has entered a plea of guilty to Count One of the criminal

Information. After cautioning and examining the Defendant under oath concerning

each of the subjects mentioned in Rule 11, I determined the guilty plea was knowing

and voluntary and the offenses charged are supported by independent bases in fact

containing each of the essential elements thereof. I therefore recommend the plea

of guilty be accepted and the Defendant be adjudicated guilty and have sentence

imposed accordingly.

       Dated: August 4, 2022.

                                /s/ Zachary C. Bolitho
                                ZACAHARY C. BOLITHO
                                UNITED STATES MAGISTRATE JUDGE
   Case 5:21-cr-00021-TKW-MJF        Document 163   Filed 08/04/22   Page 2 of 2



                                                                          Page 2 of 2

                               NOTICE TO THE PARTIES

       Objections to these proposed findings and recommendations must be
filed within twenty-four (24) hours of the date of the Report and
Recommendation. Any different deadline that may appear on the electronic
docket is for the court’s internal use only and does not control. An objecting
party must serve a copy of the objections on all other parties. A party who
fails to object to the magistrate judge’s findings or recommendations contained
in a report and recommendation waives the right to challenge on appeal the
district court’s order based on unobjected-to factual and legal conclusions.
See 11th Cir. Rule 3-1; 28 U.S.C. § 636.




Case No.: 5:21cr21-TKW/MJF-1
